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               IN THE UNITED STATES DISTRICT COURT
           FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                            CHARLESTON DIVISION


TOMMY EDWARD YOUNG, SR.,

             Movant,

v.                                     Case No.: 2:13-cv-10108
                                       (Criminal Case No.: 2:09-cr-00223-01)


UNITED STATES OF AMERICA

             Respondent.


                   MEMORANDUM OPINION AND ORDER

      Pending before the Court is the United States’ Motion for an Order Directing

Movant to File a Privilege Waiver and an Order Directing Movant’s Former Counsel

to Provide Information to the United States Concerning Movant’s Claim of Ineffective

Assistance of Counsel and an Abeyance (ECF No. 256). Movant has filed a response

opposing the requested abeyance, but conceding his intention to waive his attorney-

client privilege in regard to his claims of ineffective assistance. For the reasons that

follow, the Court GRANTS the Motion, in part, and DENIES the Motion, in part.

I.    OPINION

      On March 8, 2010, a jury found Movant guilty of six counts out of a seven-

count indictment involving the possession and interstate transportation of stolen

goods and motor vehicles. (ECF No. 129). He was sentenced to a total term of 132

months of imprisonment followed by three years of supervised release. (ECF No.

209). Movant is currently incarcerated at FPC Beckley located in Beaver, West



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Virginia. On May 3, 2013, Movant filed a Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. § 2255, (ECF No. 250), and a supporting

memorandum. (ECF No. 251). In the motion, Movant alleges that he received

ineffective assistance of counsel when his trial lawyer, Mr. Matthew Victor (“Victor”),

failed to communicate a plea offer made by the United States on November 30, 2009.

(ECF No. 250 at 4). Movant also filed an affidavit indicating that he first became

aware of the Government’s offer in 2013 when he obtained and reviewed the file of

his case from Victor’s office. (ECF No. 252). According to Movant, he believed that he

had no other option but to proceed to trial and, if he had known about the plea offer,

he would have instructed Victor to accept it. (Id. at 2). Consequently, the United

States filed the instant motion requesting the Court to direct Movant to file a waiver

of the attorney-client privilege that governed his communications with Victor.

Movant has replied, contending that the Government’s motion is nothing more than a

delay tactic. Pointing to cases addressing the waiver of the attorney-client privilege,

Movant argues that by filing the ineffective assistance of counsel claim, he has waived

his privilege. Therefore, the Government’s motion is unnecessary.

       Although Movant’s conclusion is accurate and logical, the process of formally

waiving the privilege is not quite as simple as Movant believes it to be. Victor has a

unequivocal duty under any jurisdiction’s standards of professional conduct to

protect Movant’s attorney-client privilege. Rule 83.7 of the Local Rules of this District

provides that:

       In all appearances, actions and proceedings within the jurisdiction of
       this court, attorneys shall conduct themselves in accordance with the
       Rules of Professional Conduct and the Standards of Professional
       Conduct promulgated and adopted by the Supreme Court of Appeals of



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      West Virginia, and the Model Rules of Professional Conduct published
      by the American Bar Association.

Both the Rules of Professional Conduct promulgated by the Supreme Court of

Appeals of West Virginia and the American Bar Association’s (“ABA”) Model Rules of

Professional Conduct address the confidentiality of information shared between an

attorney and his or her client. See West Virginia Rules of Professional Conduct 1.6

and 1.9(b); Model Rules 1.6 and 1.9(c). These rules substantially limit the

circumstances under which an attorney may reveal privileged communications

without an express and informed waiver of the privilege by the client.

      Moreover, on July 14, 2010, the ABA’s Committee on Ethics and Professional

Responsibility issued Formal Opinion 10-456, entitled “Disclosure of Information to

Prosecutor When Lawyer’s Former Client Brings Ineffective Assistance of Counsel

Claim.” Although this opinion is not binding on the court, see, e.g., Jones v. United

States, 2012 WL 484663 *2 (E.D.Mo. Feb. 14, 2102); Employer’s Reinsurance Corp.

v. Clarendon Nat. Ins. Co., 213 F.R.D. 422, 430 (D. Kan 2003), it provides a reasoned

discussion of the competing interests that arise in the context of an ineffective

assistance of counsel claim and their impact on the continued confidentiality of

attorney-client communications. In summary, the ABA acknowledges in the opinion

that “an ineffective assistance of counsel claim ordinarily waives the attorney-client

privilege with regard to some otherwise privileged information,” but cautions that

this waiver does not operate to fully release an attorney from his or her obligation to

keep client information confidential unless the client gives informed consent for

disclosure or disclosure is sanctioned by an exception contained in Model Rule 1.6.

After examining the various exceptions contained in Model Rule 1.6, the ABA



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concludes that disclosure may be justified in certain circumstances; however, any

such disclosure should be limited to that which the attorney believes is reasonably

necessary and should be confined to “court-supervised” proceedings, rather than ex

parte meetings with the non-client party. Simply put, the filing of an ineffective

assistance of counsel claim does not operate as an unfettered waiver of all privileged

communications.

      Upon examining the provisions of West Virginia’s Rule of Professional

Conduct 1.6, the undersigned notes that 1.6(b)(2) permits a lawyer to “reveal such

information [relating to the representation of a client] to the extent the lawyer

reasonably believes necessary ...     to respond to allegations in any proceeding

concerning the lawyer’s representation of a client.” In the Comment that follows the

Rule, the Supreme Court of Appeals instructs the lawyer to “make every effort

practicable to avoid unnecessary disclosure of information relating to a

representation, to limit disclosure to those having the need to know it, and to obtain

protective orders or make other arrangements minimizing the risk of disclosure.”

Ultimately, however, a lawyer must comply with orders of a court of competent

jurisdiction, which require the lawyer to disclose information about the client.

Similarly, Model Rule 1.6(b)(5) authorizes an attorney to reveal information

regarding the representation of a client to the extent the lawyer reasonably believes

necessary “to respond to allegations in any proceeding concerning the lawyer’s

representation of the client.” Furthermore, Model Rule 1.6(b)(6) explicitly states that

the lawyer may disclose such information “to comply with other law or a court order.”

In view of these provisions, the Court finds that Victor may, without violating the

applicable Rules of Professional Conduct, disclose information in this proceeding


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regarding his communications with Movant to the extent reasonably necessary to

comply with an order of this Court or to respond to the allegations of ineffective

representation.

        Having addressed the professional responsibilities of Victor, the Court turns to

its authority and obligations. As previously noted, federal courts have long held that

when a “habeas petitioner raises a claim of ineffective assistance of counsel, he waives

the attorney-client privilege as to all communications with his allegedly ineffective

lawyer.” Bittaker v. Woodford, 331 F.3d 715, 716 (9th Cir. 2003).1 Subsequent to the

opinion in Bittaker, Rule 502 of the Federal Rules of Evidence was enacted to

explicitly deal with the effect and extent of a waiver of the attorney-client privilege in

a Federal proceeding. Rule 502(a)2 provides in relevant part:

        When the disclosure is made in a Federal proceeding or to a Federal
        office or agency and waives the attorney-client privilege or work-
        product protection, the waiver extends to an undisclosed
        communication or information in a Federal or State proceeding only if:
        (1) the waiver is intentional; (2) the disclosed and undisclosed
        communications or information concern the same subject matter; and
        (3) they ought in fairness to be considered together.

Here, Movant concedes that he has waived the attorney-client privilege in regard to

any communications involving the Government’s November 30, 2009 plea offer and

Movant’s decision to proceed to trial. Accordingly, in regard to any such


1 See also United States v. Pinson, 584 F.3d 972 (10th
                                                     Cir. 2009); In re Lott, 424 F.3d 446 (6th Cir.
2005); Johnson v. Alabama, 256 F.3d 1156 (11th Cir. 2001); Tasby v. United States, 504 F.2d 332
(8th Cir. 1974); Dunlap v. United States, 2011 WL 2693915 (D.S.C.); Mitchell v. United States, 2011
WL 338800 (W.D. Wash).

2 The Federal Rules of Evidence are applicable in a § 2255 proceeding “to the extent that matters of

evidence are not provided for in the statutes which govern procedure therein or in other rules
prescribed by the Supreme Court pursuant to statutory authority.” FRE 1101(e). See also U.S. v.
Torrez-Flores, 624 F.2d 776 (7th Cir 1980); United States v. McIntire, 2010 WL 374177 (S.D. Ohio);
Bowe v. United States, 2009 WL 2899107 (S.D. Ga.); Rankins v. Page, 2000 WL 535960 (7th Cir.);
Ramirez v. United States, 1997 WL 538817 (S.D.N.Y). The statutes and rules governing § 2255 actions
do not address the assertion or waiver of the attorney-client privilege.


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discussion(s), a subject matter waiver of the privilege attendant to those particular

conversations should be permitted in fairness to the United States.

       Nonetheless, the Court retains authority to issue a protective order governing

production of the privileged information, including the method by which the

currently undisclosed communications will be disclosed. See Rule 12, Rules

Governing § 2255 Proceedings; FRCP 26(c); and FRE 503(d); See also United States

v. Nicholson, 611 F.3d 191, 217 (4th Cir. 2010). Rule 7 of the Rules Governing Section

2255 Proceedings expressly authorizes the use of affidavits as part of the record. In

order to determine whether an evidentiary hearing is necessary, an affidavit

submitted by Victor would be useful to the Court. Moreover, an affidavit and any

supporting documents should supply the basic information required by the United

States to allow it to respond to Movant’s § 2255 motion while simultaneously

ensuring a reasonable limitation on the breadth of the waiver of the attorney-client

privilege.

II.    ORDER

       Therefore, for the forgoing reasons, the Court DENIES the Government’s

request for a written privilege waiver, but ORDERS Movant’s trial counsel, Mr.

Matthew Victor, to file within thirty (30) days from the date of this Order an affidavit

responding only to Movant’s specific claim of ineffective assistance of counsel,

including his claim that he proceeded to trial because he believed he had no other

option. The affidavit shall include all of the information Victor believes is necessary to

fully respond to the claim and shall include as attachments copies of any documents

from his file specifically addressing the subjects of Movant’s plea offer and decision to

proceed to trial. To the extent that these documents address other aspects of Victor’s


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representation of Movant, Victor may redact them. In preparing the affidavit and

attachments, counsel should disclose only that information reasonably necessary to

ensure the fairness of these proceedings.

      In addition, the undersigned finds that specific court-imposed limitations on

the use of the privileged information are necessary to protect Movant’s future

interests. As noted by the Fourth Circuit in United States v. Nicholson, supra at 217,

citing Bittaker v. Woodford, supra at 722-723 (9th Cir. 2003), a protective order

prohibiting the subsequent and unfettered use of privileged information disclosed in

a § 2255 proceeding is entirely justified, because otherwise the movant would be

forced to make a painful choice between “asserting his ineffective assistance claim

and risking a trial where the prosecution can use against him every statement he

made to his first lawyer” or “retaining the privilege but giving up his ineffective

assistance claim.” Accordingly, the Court further ORDERS that the attorney-client

privilege, which attaches to the communications between Movant and Victor, shall

not be deemed automatically waived in any other Federal or State proceeding by

virtue of the above-ordered disclosure in this § 2255 proceeding. The affidavit and

documents supplied by Victor shall be limited to use in this proceeding, and

Respondent is prohibited from otherwise using the privileged information disclosed

by Victor without further order of a court of competent jurisdiction or a written

waiver by Movant.

      The Court GRANTS the United States’ motion for an abeyance. Upon receipt

of the affidavit and supporting documentation, if any, the undersigned will review the

matter to determine whether an evidentiary hearing is necessary. Upon completion of

the review, the undersigned will issue an appropriate scheduling order.


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      The Clerk is instructed to provide a copy of this Order to Movant, counsel of

record, and Mr. Matthew Victor.

                                  ENTERED: June 7, 2013.




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